        Case 4:14-cr-00058-JLH      Document 35     Filed 12/31/14    Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION

UNITED STATES OF AMERICA                                                    PLAINTIFF

VS.                               NO. 4:14CR58-2-JLH

DR. ANGELA BARROW                                                         DEFENDANT


                                        ORDER

       Defendant Dr. Angela Barrow appeared for plea and arraignment on December 30,

2014. Defendant remains on the current standard conditions of release previously

imposed, and no additional conditions are necessary. Supervision by the pretrial services

office is not required.

       IT IS SO ORDERED, this 31st day of December, 2014.



                                         ___________________________________
                                         UNITED STATES MAGISTRATE JUDGE
